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   8
                                        UNITED STATES DISTRICT COURT
   9

\/10
  11
                                     NORTHERN DISTRICT OF CALIFORNIA

                                                OAKLAND DIVISION

  12    SETH ABRAHAMS,                                       ~¥sel:2                1006
  13            Plaintiff,                                    PLAINTIFF'S COMPLAINT

  14    v.                                                    DEMAND FOR JURY TRIAL

   15   HARD DRIVE PRODUCTIONS, INC., AND
        DOES 1-50,
   16
                Defendants.
   17

   18                                         I.         INTRODUCTION

                1.      This is a civil action seeking declaratory relief based upon the improper past
   19
   20   continuing conduct of defendants Hard Drive Productions, Inc. (hereafter "Hard Drive")

   21   1-50 in harassing plaintiff and others like him to settle baseless and unfounded claims of

   22   infringement of Hard Drive's purported copyrighted works.

                                                   II.     PARTIES
   23
                2.       Plaintiff Seth Abrahams is an individual over the age of 18 residing in the   ount)j of
   24                                                                                                       !




   25    Alameda, California.

   26           3.       Plaintiff is informed and believes, and thereon alleges that Hard Drive is

   27    Corporation whose principal place of residence is in Maricopa County, and which doe

   28    worldwide including in the State of California, County of Alameda.


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                                                                                Exhibit A
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 1             4.    The true names and capacities of defendants named as Does 1 through 50 are prese~ ly

 2   unknown to plaintiff.

 3             5.    Plaintiff will amend this complaint setting forth the true names and capacitie of th' se

 4   fictitious defendants when they are ascertained.

 5             6.    Plaintiff is informed and believes, and thereon alleges that each of the

 6   defendants have participated in the acts alleged in this complaint to have been done by

 7   defendant.

 8             7.    Plaintiff is informed and believes, and thereon alleges that, at all relevant f    es, e ch

 9   defendant, whether named or fictitious, was the alter ego, agent, and/or employee of each o the         o~   er

10   defendant, and in doing the things alleged to have been done in the complaint, acted within the sc' pe

11   of such agency and/or employment, and/or ratified the acts of the other.

12                                           III.     JURISDICTION

13             8.    This action arises under the copyright laws of the United States, 17 U.S.C. s tions 01

14   et seq.

15             9.    The court has subject matter jurisdiction over this claim pursuant to 28 U.S. . secti ns

16   1331 and 1338, and the Declaratory Judgment Act codified at 28 U.S.C. sections 2201 and 2 02.

17             10.   This court has personal jurisdiction over Hard Drive because it has submitt d itsel to

18   the jurisdiction of this court by filing an action on November 21, 2011, action number            11-05 34

19   PJH, and which is related to this action.                                                               1




                                                                                                             !


20             11.   Due to Hard Drive's filing of prior action number C 11-01567 LB and its pr ent aq ion

21   number C 11-05634 PJH, its threats and notices of lawsuits and settlement demands to plai                    its
22   conduct within this district, it has created an actual and continuing controversy within                     's
23   jurisdiction such that the court needs to declare the rights and other legal relations of plai tiff w        is
24   seeking such declarations from the court.
25                                                  IV.   VENUE
26             12.   Venue is proper in the Northern District of California pursuant to 28 U.                    IOn

27   1400(a) as Hard Drive has claimed that plaintiff infringed its purported copyrighte               wor        by
28   downloading such works, and being responsible for such downloads where he resides.

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 1            13.    Venue is also proper in the Northern District of California as Hard Drive has
                                                                                                               I
                                                                                                                1



 2    to the venue of this court by filing action number C 11-05634 PJH in this district, its t eats                d
                                                                                                               I

 3    notices of lawsuits and settlement demands to plaintiff, and by its conduct within this distr ct whi h    1




                                                                                                               I
                                                                                                               I

 4    has created an actual and continuing controversy such that the court needs to declare the r ghts              d

 5    other legal relations of plaintiff who is seeking such declarations from the court, and which is elated i o
 6   this action.

 7                                  v.         INTRADISTRICT ASSIGNMENT
 8           14.     Assignment of this action to the Oakland Division is proper as Hard Drive'

 9   action number of C 11-05634 PJH is assigned to the Honorable Phyllis J. Hamilton in the Oakl               i
                                                                                                                I
                                                                                                                    d
                                                                                                                !


10   Division per the Local Rules of Practice in Civil Proceedings before the United States Distr ct Co         1




11   for the Northern District of California (hereafter "Civil L.R.") 3-3(c) and 3-12.
12                                       VI.    FACTUAL ALLEGATIONS
13                                       A.      Hard Drive's Prior Lawsuit
                                                                                                               !

14           15.     On March 31, 2011, Hard Drive filed a complaint for copyright infringement w ich w' s

15   assigned case number C 11-01567 LB (hereafter "prior action").

16           16.     Based on Hard Drive's consent to proceed before a U.S. Magistrate Judge,

17   action was assigned to the Honorable Laurel Beeler.

18           17.     In this prior action, Hard Drive failed to comply with Civil L.R. 3-16(b)(1) by ailing

19   disclose "any persons, associations of persons, firms, partnerships, corporations (includin           pare t
                                                                                                               !
                                                                                                               !


20   corporations), or other entities other than the parties themselves known by the party to ha           eithd :

21   (i) a financial interest (of any kind) in the subject matter in controversy or in a party to the pr

22   or (ii) any other kind of interest that could be substantially affected by the outcome of the proc eding.l
                                                                                                                I

23           18.    Instead on March 31, 2011, Hard Drive violated Civil L.R. 3.16(b) by pu oseful

24   limiting and qualifying its disclosure to only state that Hard Drive does not have a parent co
25   that owns 10% or more of its stock, and that there are no known persons, associations of
26   firms, partnerships, corporations (including parent corporations), or other entities that rna

27   personal or affiliated financial interest in the subject matter or controversy.

28   Ill

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 1           19.    Plaintiff is informed and believes, and thereon alleges that Hard Drive repor ed in , s

 2   2011 annual report received on or about January 28, 2011 by the Arizona Secretary of State hat P~~l

 3   Pilcher owns more than 20% of any class of shares issued by Hard Drive, or having more th n a 20 Vo

 4   beneficial interest in Hard Drive, information which is publicly available electronically "rom t' e
                                                                                                              !



 5   Arizona Secretary of State at htto://staroas.azcc.!!ov/scriots/c!!ii12.exe/WService=wsbroker     /nam~s-

 6   detail.p?name-id=11235797&type=CORPORA TION.

 7          20.     In this prior action, Hard Drive sued 118 anonymous doe defendants by in prope. y

 8   joining them in one action without taking into account the requirements of 28 U.S. C. sectio 1400 a)

 9   which requires that a defendant in a copyright infringement action may only be sued in tl e dist~ ct

10   where the defendant or his or her agent resides or may be found.

11          21.     Plaintiff is informed and believes, and thereon alleges that Hard Drive       ir~prope        ly

12   joined multiple defendants in one action to avoid paying the $350 filing fee for each action had    H~   rd

13   Drive properly filed separate actions for each defendant.

14          22.     Plaintiff is informed and believes, and thereon alleges that Hard Drive it nprope ly

15   joined multiple defendants in one action to avoid having any cases dismissed due to ~ailure! to

16   prosecute by failing to pay the $350 filing fee for each separate defendant.

17          23.     Hard Drive improperly received the benefits and services of the court withcut pay ng

18   the requisite filing fee of$350 for each separate action against each defendant.

19          24.     Hard Drive's allegation that copyright infringement associated with plaintiffs    Inte~1et

20   Protocol (IP) Address occurred on March 21, 2011 is before the work's registratio                date! of

21   November 18, 2011, and more than 3 months after the date of first publication on March 4, 2 H 1.

22          25.     In this prior action, Hard Drive alleged that it owned the purported copyright o an a< ult
                                                                                                          !



23   video entitled "Amateur Allure- Samantha Saint" (hereafter "work") which is purportedly        regist~   ed

24   with the United States Copyright Office.

25          26.     Plaintiff is informed and believes, and thereon alleges that Hard Drive rept esente{ to

26   the U.S. Copyright Office that the work was first published on March 4, 2011.

27          27.     Plaintiff is informed and believes, and thereon alleges that the work was re isterecl on

28   November 18,2011.

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                         In the prior action, Hard Drive alleged that it was entitled to recover statutory ~ama~ s
1               28.                                                                                               '
                                                                                                                  '


2        and attorneys' fees per 17 U.S.C. section 504(c) as stated in its complaint at paragraph 31, nd in s

3        prayer for relief at paragraph 4.
                         A party is not entitled to recover statutory damages and attorneys' fees under 7 U.S~~·
                                                                                                                  'r
4                29.
5        section 504(c) if the alleged infringement of copyright commenced before the effective d1te of! ts

6        registration, unless such registration is made within three months after the first publication of the wq Irk

7        per 17 U.S.C. section 412.

                 30.     Hard Drive is not entitled to recover statutory damages and attorneys' fees.
8

9                31.
                         After filing its prior action, Hard Drive then applied ex parte for expedited     ~iscov~ ry
10       seeking the names, addresses, and telephone numbers of the account holders whose IP addre~ es

11       resolved to them.

                 32.      Plaintiff is informed and believes, and thereon alleges that Hard Drive had et tered ~ 1to
12
13        an agreement with a third party private investigator, who is unlicensed under California law but ye is

14        required to be licensed, to log IP addresses that were allegedly transmitting Hard Drive'! work! via

15        BitTorrent.

16                33.     A BitTorrent tracker is a computer server.

17                34.     A BitTorrent tracker is required to initiate any download of the work.

                  35.     Plaintiff is informed and believes, and thereon alleges that Hard Drive gave ~e rigb to
18
19        distribute the work to its unlicensed private investigator, otherwise it would not have been 1ble to log

20        the IP addresses.

                  36.      Plaintiff is informed and believes, and thereon alleges that Hard Drive kne IV of tQ IP
21
22         addresses of the BitTorrent trackers that were being used to distribute the work.

                   37.     Plaintiff is informed and believes, and thereon alleges that Hard Drive never issued! any
23
 24        Digital Millennium Copyright Act ("D.M.C.A.") takedown notices to the owners and/or <perato s of       !




 25        the BitTorrent trackers that were being used distribute the work.

                   38.     Plaintiff is informed and believes, and thereon alleges that Hard Drive neve issued any
 26
 27        D.M.C.A. takedown notices to the owners and/or operators of the BitTorrent trackers, beca\ se it ru: dlor

    28     its agents were using them as honeypots so that they could continue to log IP addresses.

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 1            39.    Plaintiff is informed and believes, and thereon alleges that Hard Drive knew it cou' ~   I
                                                                                                              i

 2   make more money by allowing its work to continue to be distributed instead of shutting cpwn t~ e

 3   BitTorrent trackers.

 4           40.     Contrary to Hard Drive's allegation that venue under 28 U.S.C. section 1391(b) govenj s

 5   copyright infringement actions, it does not; only section 1400(a) governs venue in cppyrig' t

 6   infringement actions per the Supreme Court's holding in Schnell v. Peter Eckrich & Sons In'. (196,)
                                                                                                              !


 7   365   u.s. 260, 262-263.
 8           41.     The Schnell court's analysis of venue in section 1400(b) for patent infringemen    actio~    s

 9   should likewise be applied for venue in copyright infringement actions under section 1400(a).

10           42.     Plaintiff did not move to quash Hard Drive's subpoena issued to his interne        serviQ~

11   provider ("ISP").

12           43.     Plaintiffs ISP released his name, address, and telephone number to Hard Drive.

13           44.     After receipt of plaintiffs name, address, and telephone number, Har~ Dri~~              !



14   transmitted a letter demanding that he settle for $3,400. (Exhibit A at p.2, ~ 3.) A true an< corre' t

15   copy of this letter is attached hereto as Exhibit A.

16           45.     In Hard Drive's settlement demand letter, it threatened plaintiff with a           lawsu~    .

17   (ExhibitAatp.l,~5.)

18           46.     In Hard Drive's settlement demand letter, it notified plaintiff to act promptly b) settling

19   to avoid being named as a defendant in the lawsuit.

20           47.     In Hard Drive's settlement demand letter, it notified plaintiff that he was 1able f( r

21   copyright infringement by merely having an unsecured wireless network/router even though plainti f

22   did not download the work, did not tell anyone else to download the work, and did not knov anyo le

23   was using his internet service to download the work. (Exhibit A at p.4, ~~ 12-13.)

24           48.     Along with its settlement demand letter, Hard Drive also transmitted a memo ' flaw p
25   plaintiff. A true and correct copy of this memo is attached hereto as Exhibit B.

26           49.     In its memo of law, Hard Drive notified plaintiff that he is liable for cppyrig t

27   infringement by simply being the account holder on his ISP account. (Exhibit Bat p.3, ~ 5.)

28   Ill

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1           50.     In Hard Drive's settlement demand letter, it notified plaintiff that he may be 1 able fi r

2    statutory damages of up to $150,000. (Exhibit A at p.2, ~ 1.)

3           51.     Plaintiff is informed and believes, and thereon alleges that Hard Drive's pri r actiq~

4    complaint along with the settlement demand letter and memo of law were designed to threate , notif ,      !



5    intimidate, and to coerce plaintiff into paying the settlement demand of $3,400, especia y wh~ n

6    confronted with the statutory damages figure of$150,000.

7            52.      Plaintiff is informed and believes, and thereon alleges that Hard Drive's pripr acti( n

8    complaint coupled with the settlement demand letter and memo of law were designed to hreat~p,

9    notify, intimidate, and to coerce plaintiff into paying the settlement demand of $3,400 as it would e     !

                                                                                                               '

10   more expensive for him to retain an attorney to defend himself against the baseless and          u~found'     d

11   allegations.

12           53.      Plaintiff is informed and believes, and thereon alleges that no facts existed for Ha d

13   Drive to represent, either in its prior action complaint or in its settlement demand letter, to pla ntiffd at

14   Hard Drive was entitled to recover any statutory damages award given that the alleged infi ngem~lnt

15   occurred on March 21, 2011 which is before the work's registration date of November 18, 011,             a~d
16   more than 3 months after the date of first publication on March 4, 2011.

17           54.      Plaintiff is informed and believes, and thereon alleges that Hard Driv 's

18    communications transmitted to plaintiff were designed to threaten, notify, intimidate, and o coe, ~e

19    him into settling the case despite the absence of any facts supporting liability against him.
                                                                                                               1




20           55.      Hard Drive's conduct here is no different than the Trevor Law Group, LLP's cond ct
                                                                                                               I


21    when the People of the State of California sued the Trevor Law Group, LLP and other p rsons I or

22    abusive improper practices relating to unfounded and baseless Business and Professions Co~e sect ion

23    17200 claims.

24            56.      On January 19,2012, Hard Drive dismissed its prior action without prejudice.

25    Ill

26    Ill

27    Ill

28

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 1           57.    Plaintiff is informed and believes that Hard Drive dismissed its prior action     a~   it cou d

 2   not and did not want to address the issues and questions that the court had with the prior actic n, that! it
                                                                                                                                      !
                                                                                                                                      I

 3   no longer wanted to proceed before a magistrate judge despite providing its prior consent, a~d that/ it
                                                                                                                                      i

 4   also did not want to be sanctioned for failing to prosecute the case and for misjoining all an Jnymo ~s
                                                                                                                                      !



 5   doe defendants.
 6                                    B.      Hard Drive's Present Lawsuit

 7           58.    On November 21, 2011, Hard Drive filed a complaint for copyright infr                  ngem~                          nt
                                                                                                                                  i

 8   against a single John Doe defendant which was initially assigned case number C 11-0. 634 J('S
                                                                                                                              I
 9   (hereafter "present action"), and which was subsequently reassigned to the Honorable >hyllis/ J.

10   Hamilton.
                                                                                                                              !

11           59.    In the present action, Hard Drive failed to comply with Civil L.R. 3-16(b)(l) by fail ng
12   to disclose "any persons, associations of persons, firms, partnerships, corporations (includ ng pruj nt
13   corporations), or other entities other than the parties themselves known by the party to have     ~ither:            j           (i)

14   a financial interest (of any kind) in the subject matter in controversy or in a party to the proc ~eding/ or
                                                                                                                          !


15   (ii) any other kind of interest that could be substantially affected by the outcome of the proce ding. '1
16           60.    Instead on November 21, 2011, Hard Drive violated Civil L.R. 3.16(b) by         ptrpose~ lly
17   limiting and qualifying its disclosure to only state that Hard Drive does not have a parent c~rpora ·on
                                                                                                                      '

18   that owns 10% or more of its stock, and that there are no known persons, associations f pers( ns,
                                                                                                                      !


19   firms, partnerships, corporations (including parent corporations), or other entities that rr ay hai e a
20   personal or affiliated financial interest in the subject matter or controversy
21           61.    Despite the fact that Hard Drive knew that the prior action was still pending, andj hat
22   the present action was related to the prior action, Hard Drive failed to comply with Civil u.R. 3i3(c)
                                                                                                                  !


23   which requires the refiling party to file a motion to consider whether cases should be relat d pur~ ~ant
                                                                                                              I
24   to Civil L.R. 3-12 so that the judge originally assigned to the action which had been dismi sed sHmld
                                                                                                              !
                                                                                                              I

25   have the refiled case transferred to him or to her to avoid the unduly burdensome duplicat on of J~bor
                                                                                                              !

26   and expense.
27   ///
28   ///

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 1           62.     Plaintiff is informed and believes, and thereon alleges that Hard Drive filed the prese t   1




                                                                                                                 i


 2   action, because it no longer wanted a magistrate judge to decide the case despite consen ing to i a

 3   magistrate judge in the prior pending and related action; Hard Drive's conduct was des gned o

 4   improperly withdraw its prior consent to a magistrate judge.
                                                                                                                 '
 5           63.     Plaintiff is informed and believes, and thereon alleges that Hard Drive pun oseful ~
                                                                                                                 !
                                                                                                                 I

 6   failed to comply with Civil L.R. 3-3(c), because the previously assigned judge, the Honorab ~ LauJ1 1

 7   Beeler was likely to make rulings adverse to Hard Drive given its failure to prosecute the case.

 8           64.     In the present action, Hard Drive alleged that it was entitled to recover tatuto~ ~

 9   damages and attorneys' fees per 17 U.S.C. section 504(c) as stated in its complaint at       para~lraph    3j ,
                                                                                                                 !

10   and in its prayer for relief at paragraph 2.

11           65.     Again, Hard Drive is not entitled to recover statutory damages and attomelrs'         fe~       ,

12   because Hard Drive claimed that the alleged infringement occurred on March 21, 2011 which s befo'~

13   the work's registration date of November 18, 2011, and more than 3 months after the dat! of fi~ t

14   publication on March 4, 2011.

15           66.     On October 19,2011, Hard Drive transmitted a settlement demand letter to plaiptiffth t

16   it would be in his beneficial interest to settle Hard Drive's allegations of copyright infring ment p

17   avoid the expense of further litigation. A true and correct copy of the letter is attached as Exhi it C.

18           67.     Along with Hard Drive's settlement demand letter, Hard Drive transmitted a letter           ip
19   plaintiff to preserve all evidence else be faced with spoliation sanctions. A true and correct co y of tl e

20   letter is attached as Exhibit D.

21          68.      Plaintiff is informed and believes, and thereon alleges that as late as January 11, 201 ,
                                                                                                                 '
22   Hard Drive represented to the public that he was one of its agents "Top 25 Pirates." A true an      corre~      t

23   copy of this redacted defamatory statement is attached hereto as Exhibit E at page 1. Plainti f     deni~ s

24   this unfounded and baseless defamatory allegation.

25          69.     Plaintiff is informed and believes, and thereon alleges that as late as January 1~, 201 ,

26   Hard Drive's represented to the public that he was one of its agents "Top Pirates." (Exhibit I at p.2)

27   Plaintiff denies this unfounded and baseless defamatory allegation.

28   ///

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 1           70.        Plaintiff is informed and believes, and thereon alleges that Hard Drive's        ~   ior atjd
                                                                                                                   i
 2   present action complaint along with its threats and notices of lawsuits, memo of law of p aintiftl s
                                                                                                                   I


 3   alleged absolute liability, settlement demands, and defamatory allegations were designed to hreate ,

 4   notify, intimidate, embarrass, shame, and to coerce plaintiff into paying the settlement de !nand ( f

 5   $3,400 especially when confronted with a statutory damages figure of$150,000.

 6           71.        On January 6, 2012, Hard Drive applied ex parte to take on an expedited asis t~e

 7   deposition of plaintiff who was not named as a defendant in Hard Drive's present action.

 8           72.        Plaintiff is informed and believes, and thereon alleges that despite Hard Drive s          1




                                                                                                                   1




 9   erroneous position that plaintiff is vicariously liable for any acts or conduct occurring thr ugh h s

10   internet account, it purposely avoided naming plaintiff for the purposes of obtaining ex parte d scove• y
                                                                                                                   I

11   in the present action on an expedited basis to prevent him from properly defending himself a a pan y
                                                                                                                   !


12   against the baseless and unfounded allegations, and to cause him to incur attorneys' fees in d fendi~ g

13   himself at deposition to force him to settle.

14           73.        Hard Drive's tactics were improper as plaintiff had notified it that:        (1) he did np

15   download the work, and (2) he did not know who downloaded the work.

16           74.        In response, Hard Drive's rejected plaintiffs statements of non-liability.

17           75.        Plaintiff is informed and believes, and thereon alleges that the acts and conduct of H~ d

18   Drive and its agents or employees as described herein were unlawful and/or improper, an are ~o

19   different from the Trevor Law Group, LLP's conduct.

20                                 c.     Hard Drive's Work is Not Copyrightable

21           76.        Article I, Section 8, Clause 8 of the United States Constitution, known as the Cppyrig t

22   Clause, empowers the United States Congress: "To promote the Progress of Science and useful Art, ,
                                                                                                                   I

23   by securing for limited Times to Authors and Inventors the exclusive Right to their respective ~ritin$ s

24   and Discoveries."

25           77.        Thus, copyright is authorized only for works which promote the progress of sci nee       aJ1d
26   the useful arts.

27   Ill
28   Ill

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 1              78.   Horizontal Stare Decisis or Circuit law binds all courts within a particula circu ,
                                                                                                                             I

 2   including the court of appeals itself. (Hart v. Massanari (9th Cir. 2001) 266 F.3d 1155, 1171 -"[T]( e
                                                                                                                             !
                                                                                                                             I
 3   first panel to consider an issue sets the law not only for all the inferior courts in the circuit, but al1 o
                                                                                                                             I

 4   future panels of the court of appeals.... Once a panel resolves an issue in a precedential       opi~ion,   t e
                                                                                                                             I
 5   matter is deemed resolved, unless overruled by the court itself sitting en bane, or by the Supreri e

 6   Court" or "unless Congress changes the law.")

 7              79.   Early Circuit law in California held that obscene works did not promote the prDgress                       ~f

 8   science and the useful arts, and thus cannot be protected by copyright.

 9              80.   Subsequent non-en bane decisions by the Ninth Circuit failed to follow this pri :.lr eire' it

10   decision in California.
                                                                                                                         I

11              81.   Given the absence of any subsequent en-bane Ninth Circuit decisions, Supre pe Co' rt               I



12   precedent, or changes in the Constitution that copyright is authorized for works which does i ot                    I

                                                                                                                         I

13   promote the progress of science and the useful arts, the subsequent Ninth Circuit decisions are v~ 'd
                                                                                                                         I


14   and do not constitute binding precedent.

15              82.   Hard Drive's work does not promote the progress of science.

16              83.   Hard Drive's work does not promote the useful arts.

17              84.   Hard Drive has judicially admitted that its work is adult pornography.

18              85.   Hard Drive's work depicts obscene material.

19              86.   Plaintiff is informed and believes, and thereon alleges that to create the w rk, H~ rd
                                                                                                                     I


20   Drive and its agents and/or its employees violated laws which prohibited pimping, I anderi g,

21   solicitation and prostitution, including any claims of conspiracy.

22              87.   Hard Drive's work depicts criminal acts and/or conduct.

23              88.   Hard Drive's work is not copyrightable.
                                                                                                                 i
24     VII.      FIRST CAUSE OF ACTION FOR DE CLARATORY RELIEF AND/OR JUD( MEN~ r
                  THAT PLAINTIFF IS NOT LIABLE TO HARD DRIVE FOR COPYRIGHT
25                         INFRINGEMENT AGAINST ALL DEFENDANTS
26              89.   Plaintiff realleges and incorporates by reference as though fully stated here, J: aragra hs

27   1 to 88.

28   ///

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 1              90.    Although Hard Drive in its present action denies that it does not know if pl ~intiff s

 2   liable to it for copyright infringement, in extra-judicial communications, Hard Drive's pcsition s

 3   completely the opposite-that plaintiff is liable to Hard Drive.

 4              91.    On or about June 30, 2011, Hard Drive, through its agent transmitted a letter to plaint' f

 5   which is attached hereto as Exhibit A.

 6              92.    In its letter, Hard Drive notified plaintiff that to avoid being named as a defen 1ant in a

 7   copyright infringement action, he had to pay $3,400 to settle Hard Drive's claims. (Exhibit \ at p. ,

 8   ~   3.)

 9              93.    In its letter, Hard Drive threatened plaintiff with a lawsuit. (Exhibit A at p.1, ~ .)

10              94.    Along with the settlement demand letter, Hard Drive transmitted a memo elf law o

11   plaintiff notifying him that he was absolutely and vicariously liable for copyright infringemet t simp y

12   by being the account holder of his ISP account. (Exhibit Bat p.3, ~ 5.)

13              95.    In Hard Drive's memo of law, its position is that the account holder is 1able f r

14   copyright infringement committed by any person who uses the account holder's internet acces~.

15              96.    As late as January 11 and 12, 2012, Hard Drive gave notice to the public and plaint f

16   that plaintiff was one of its agents' "Top 25 Pirates" and "Top Pirates."

17              97.    Hard Drive's present action, in which it allegedly denies that it does not krow w o

18   infringed its work is false and mere pretext given its extra-judicial actions, cond ct, at d

19   communications threatening lawsuits, and demanding settlements from plaintiff as alleged hen in.

20              98.    Plaintiff is informed and believes, and thereon alleges that Hard Drive is pun oseful y

21   avoiding naming plaintiff so that it can improperly conduct expedited ex parte discovery upon plaint 'I

22   to preclude him from defending himself against Hard Drive's baseless and unfounded allegatic~s.

23              99.    Plaintiff is informed and believes, and thereon alleges that Hard Drive is pun oseful y

24   conducting expedited ex parte discovery upon plaintiff in order to threaten, intimidate, and o coer e

25   plaintiff into settling with Hard Drive.
26              100.   As alleged in Hard Drive's present action, and based upon its actions and ccnduct s

27   described herein, plaintiff denies that he is liable to Hard Drive for copyright infringement.

28   ///

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 1              101.    Based on all the information stated herein, an actual and continuing controve

 2   between plaintiff and Hard Drive such that plaintiff needs the court to declare the rights bet een t e

 3   parties.

 4              102.    Wherefore, plaintiff prays for the following relief.

 5                                           VIII. PRAYER FOR RELIEF

 6              Plaintiff seeks relief as follows:

 7              103.    That the court issue an order declaring that plaintiff is not liable to Hard · nve

 8   copyright infringement, and/or he has not infringed Hard Drive's copyrights, if any;

 9              104.    That the court issue an order declaring that Hard Drive's work is not cop

10   and/or to strike its copyright registration as the work does not promote the progress of scienc and

11   useful arts as required by the U.S. Constitution, including but not limited to the fact that th wor

12   obscene, was created by unlawful conduct and depicts unlawful activity, and that Hard                   ts

13   owners, agents, and/or employees have engaged in unlawful activity and/or conduct such as pimpi g,

14   pandering, solicitation, and prostitution, including conspiracy to commit such acts.

15              105.    That the court issue an order declaring that Hard Drive has not mitigated ama        s,

16   including but not limited to being based upon the doctrines of estoppel and laches, and                 ts

17   failure to issue D.M.C.A. take down notices to the BitTorrent trackers, and by continuin to all w

18   these BitTorrent trackers to continue to exist so that Hard Drive can continue to improper! dem         d

19   more settlements from non-liable defendants.

20              106.    That the court issue an order declaring that Hard Drive is not entitled t       reco er

21   statutory damages and attorneys' fees;

22              107.    That the court issue an order declaring that no infringement has occurred

23   Hard Drive had authorized its work to be distributed by its non-California and unlicens d pri

24   investigators, who are in violation of California Business and Professions Code sections 7520           d

25   7521 while they were distributing and participating in the distribution of the work, and/or that        d

26   Drive is guilty of unclean hands due to its and/or its agents' operation and use of honeypots      d/or he

27   use of a third-party's services as honeypots;

28   Ill

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1              108.   That the court issue an order declaring that Hard Drive, its agents, and/or etpploye s

2     have unlawfully and improperly demanded settlements unsupported by facts and law which ( onstitt e

3     copyright misuse, and which constitute a violation of California Business and Professions coo~ secti n

4     17200;
5              109.   That plaintiffbe awarded his costs and attorneys' fees as provided by law, incl ding l ut

6     not limited to U.S.C. section 505;
7              110.   That the court enter judgment in favor of plaintiff, and against Hard Drive and ~y otl er

8     named defendants; and
9              111.   For such other and further relief as the court deems just and proper.

10                                     IX.     DEMAND FOR JURY TRIAL

11             112.   Plaintiff demands a jury trial for all issues triable by jury.

12    DATED: February 28, 2012
                                                      MURPHY, PEARSON, BRADLEY & FEENE)
13
                                                                 -~             /\j
14                                                    ByC_JLQ-{'7                      /
15                                                        Steven W. Yuen        ~
                                                          Attorneys for Plaintiff
16                                                        SETH ABRAHAMS

17     SWY .20368057 .doc

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Steele      I Hansmeier,             PLLc
A leading anti-piracy law firm

      June 30, 2011



      VIA U.S. MAIL
      Seth Abrahams
      731 Catalina Dr
      Livermore, CA 94550

             Re:      Hard Drive Productions Inc. v. Does 1-118
                      Case No. 4:11-cv-01567-LB, Ref#5997

      Dear Mr. Abrahams:

      Steele I Hansmeier, PLLC has been retained by Hard Drive Productions, Inc to pursue legal
      action against people who illegally downloaded their copyrighted content (i.e., "digital pirates").
      Digital piracy is a very serious problem for adult content producers, such as our client, who
      depend on revenues to sustain their businesses and pay their employees.

      On March 21, 2011 at 6:13:44 PM (UTC), our agents observed the IP address with which you
      are associated illegally downloading and sharing with others via the BitTorrent protocol the
      following copyrighted file(s):


             Amateur Allure • Samantha Saint
             The ISP you were connected to: Comcast Cable
             Your IP Address you were assigned during your illegal activity: 98.248.90.217

      We have received a subpoena return from your ISP confirming that you are indeed the person
      that was associated with the IP address that was performing the illegal downloading of our
      client's content listed above on the exact date(s) listed above.

      On March 31, 2011 we filed a lawsuit in United States Federal Court in the Northern District of
      California against several anonymous digital pirates (Case No. 4: 11-cv-01567- LB). Under the
      Federal Rules of Civil Procedure, our lawsuit against you personally will not commence until we
      serve you with a Complaint, which we are prepared to do if our settlement efforts fail. While it is
       oo a e o un o e 1 ega 1e s anng assoc1a e WI your             a ress, we ave pre pare an
      offer to enable our client to recover dam ages for the harm caused by the illegal downloading
      and to allow both parties to avoid the expense of a lawsuit.




                   Legal Correspondence - Settlement Purposes Only- Not Admissible Under FRE 408
  Fax: 312.893.5677         I   161 N. Clark St. 4700, Chicago, IL 60601             I     Tel: 312.880.9160

                                          www.wefightpiracy.com               Exhibit A                        01


                                                                                                                    i!
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Under the Copy right Law of the United States, copyright owners may recover up to $150,000 in
statutory damages (in cases where statutory damages are applicable, which may or may not be
the case here) per infringing file plus attorney's fees in cases, whereas here, infringement was
willful. In it least one case where the Copyright Law has been applied to digital piracy and
statutory damages were applicable, juries have awarded over $20,00 0 per pirated file. During
the RIAA's well-publicized campaign against digital music piracy, over 30,000 people nationwide
settled their cases for amounts ranging from an average of $3,000 to $12,000. More recently,
on December 22, 2010, a case in which a defendant was accused of illegally downloading 6
works via BitTorrent, a settlement was reached for $250,000.

In light of these factors, we believe that providing you with an opportunity to avoid litigation by
working out a settlement with us, versus the costs of attorneys' fees and the uncertainty
associated with jury verdicts, is very reasonable and in good faith.

In exchange for a comprehensive release of all legal claims in this matter, which will enable you
to avoid becoming a named Defendant in our lawsuit, our firm is authorized to accept the sum of
$3,400.00 as full settlement for the claims. This offer will expire on July 1, 2011 at 4:00p.m.
CST. If you reject our settlement offers, we expect to serve you with a Complaint and
commence litigation.

To reiterate: if you act promptly you will avoid being named as a Defendant in the lawsuit. You
may pay the settlement amount by:

       (a)     Mailing a check or money order payable to "Steele Hansmeier Trust Account" to
               Steele I Hansmeier, PLLC, 161 N Clark Street #4700, Chicago, Illinois 60601; or

       (b)     Completing and mailing/faxing the payment authorization to Steele I Hansmeier,
               PLLC, 161 N Clark Street #4700, Chicago, Illinois 60601, Facsimile: (312) 893-
               5677.

Be sure to reference your case number and your "Ref#" on your method of payment.
Regardless of your payment method, once we have processed the settlement, we will mail you
your signed Rei ease as confirmation that your payment has been processed and that you have
been released from the lawsuit.

Please consider this letter to constitute formal notice that until and unless we are able to settle
our client's claim against you, we demand that you not delete any files from your computer or
any other computers under your control or in your possession. If forced to proceed against you
in a lawsuit, we will have a computer forensic expert inspect these computers in an effort to
locate the subject content and to determine if you have deleted any content. If in the course of
litigation the forensic computer evidence suggests that you deleted media files, our client will
amend its complaint to add a "spoliation of evidence" claim against you. Be advised that if we
prevail on this additional claim, the court could award monetary sanctions, evidentiary sanctions
and reasonable attorneys' fees. If you are unfamiliar with the nature of this claim in this context,
please consult an attorney.

We strongly encourage you to consult with an attorney to review your rights in connection with
this matter. Although we have endeavored to provide you with accurate information, our
interests are directly adverse to yours and you should not rely on the information provided in this
letter for assessing your position in this case. Only an attorney who represents you can be
relied upon for a comprehensive analysis of our client's claim against you.


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Enclosed, please find a Frequently Asked Questions sheet, a payment authorization form and a
sample of the Release that you will receive. We look forward to resolving our client's claim
against you in an amicable fashion, through settlement.

Sincerely,



John L. Steele
Attorney and Counselor at Law

Enclosures




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                        FREQUENTLY ASKED QUESTIONS

Q:    Why did I receive this letter?

      A:      You received this letter because copyright infringement involving your Internet
              account was detected by our agents.


Q:    What are the benefits of settling?

       A:     The benefits of settling include avoiding the time and expense of litigation and
              associated risks.


Q:    Will I remain anonymous if I settle?

      A:      Yes, you will remain anonymous if you settle.


Q:     Has my privacy been violated?

      A:      No. A copyright infringement was detected over the public Inter net or a Peer-to-
              Peer (P2P) Network involving your internet connection.


Q:     I haven't infringed on a copyright, why did I receive a notice?

      A:      If you are unfamiliar with the content, we normally find that the infringement was
              the result of a spouse, child, roommate, employee, or business associate
              uploading, downloading or otherwise sharing or displaying the copyright
              protected material over your internet connection. Infringements can also result
              from an unsecured wireless network. In any of these scenarios the Internet
              Service Provider (ISP) account holder may be held legally responsible for the
              infringement(s) and settlement fees.


Q:    What if I have an unsecured wireless network/router?

      A:     The Internet Service Provider (ISP) account holder is responsible for securing the
             connection and may be legally responsible for any infringement(s) that result
             from an unsecured wireless network/router. This 'defense' has been raised in
             many criminal matters regarding such crimes as child pornography, and the
             courts have generally rejected this defense. As far as we are aware, this
             defense has never been successfully argued, in multiple contexts, including child
             pornography and civil copyright infringements actions.




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Q:    What if I own a business and an employee infringed o n a copyright?

     A:     The Internet Service Provider (ISP) account holder may be responsible for
            securing the connection and may be legally responsible for any infringement(s)
            that occur. We normally find that business owners pass on out-of-pocket costs to
            the employee that was responsible for the infringement(s).

Q:   Will this go away if I just remove the file(s) from my computer(s)?

     A:     No. In fact, removing the file(s) associated with your case{s) is a breach of your
            obligation to preserve electronic evidence.


Q:   How do I know that the IP Address listed in the notice is mine and not a fake?

     A:     The notice, IP Address, and associated account holder have all been correlated
            by your Internet Service Provider ( ISP) a third party organization that is not
            associated with us.


Q:   How do I make this go away?

     A:     Paying the settlement fee will immediately release you from liability and close the
            case.


Q:   How do I know that you are legally authorized act on behalf of the copyright
     owner?

     A:     If you wish to receive additional information proving that we are legally authorized
            to act on behalf of the copyright owner(s) please contact us.


Q:   Do I need to hire an attorney?

     A:     The decision to hire an attorney is completely up to you. We cannot give you
            legal advice, but speaking with an attorney is generally highly advisable. In some
            cases the settlement offered by us is significantly lower than the costs associated
            with hiring an attorney.


Q:   Why are copyright lawsuits normally filed?

     A:     Copyright owners file lawsuits because they have no other way to recover
            revenues lost to digital piracy.




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Steele         I Hansmeier,               PLLc
A leading anti-piracy law firm




                                         PAYMENT AUTHORIZATION
I hereby authorize Steele I Hansmeier, PLLC to withdraw funds from the bank account or credit card listed belo       for
the settlement amount and legal issue referred to on my Release and herein below.



CaseNameandRem: -------------------------------------------
PAYOR INFORMATION

Payor's Name: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
Billing Address:



Telephone Number:


Signature:                                                  Date:


PAYMENT INFORMATION

Payment amount:          $._ _ _ __

Name on Bank Account I Credit Card: - - - - - - - - - - - - - - - - - - - - -

If paying via bank account:

Type of Account:        Checking I Savings
Routing Number:         - - - - - - - - Account Number:

If paying via credit card:

Card Number: ---------------------- Exp. Date:
Card Type:   D Master Card D VisaD AmEx    D Discover
CID Number:               (this is the last three digits on the back of your Master Card, Visa, or Discover Card, or he
four digit number in the upper right corner on the front of your Am Ex)


                                              Fax or mail this authorization to:

                                                   Steele I Hansmeier, PLLC.
                                                 161 N. Clark Street, Suite 4700
                                                       Chicago, IL 60601
                                                     Fax: (312) 893-5677


Fax:   312.893.5677                 161 N. Clark St. 4700, Chicago, IL 60601                     Tel:   312.880.9 60
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                                                  RELEASE
Company: Hard Drive Productions, Inc.                                              Settlement Purposes On y •
IN RE: Hard Drive Productions, Inc. v. Does 1·1000, Case# 1: 10-cv-05606           Inadmissible Under FRE 08


              BE IT KNOWN, that Steele      I Hansmeier,   PLLC on behalf of the Company named above,
      (hereinafter referred to as "Releasor"), for and in consideration of the sum of Two Thousand Nine
      Hundred ($2,900.00) Dollars, and other valuable consideration received from or on behalf of
      - - - - - - - - - · (hereinafter referred to as "Releasee"), provided that Releasee's payment
      in full in the amount of $2,900.00 is received by Releasor within seven calendar days from the date
      of this release and such payment is made with no chargebacks, cancellations or revocations, does
      hereby remise, release, acquit, satisfy, and forever discharge the said Releasee, of and from all
      manner of actions, causes of action, suits, debts, covenants, contracts, controversies, agreements,
      promises, claims, and demands regarding the lawsuit referred to as Hard Drive Productions, Inc.
      v. Does 1-1000, Northern District of Illinois Federal Case Number 1:1 0-cv-05606, or any claim
      related to any act Releasor alleges that Releasee may or may not have done, which said Releasor
      ever had, now has, or which any personal representative, successor, heir or assign of said Releasor,
      hereafter can, shall or may have, against said Releasee, by reason of any matter, cause or thing
      whatsoever, from the beginning of time to the date of this instrument. In consideration for foregoing
      release and for other good and valuable consideration, the receipt and sufficiency of which is hereby
      acknowledged, Releasee hereby releases Releasor, Steele       I Hansmeier,   PLLC., Media Copyright
      Group, LLC., and the owners and operators of the foregoing entities from all manner of actions,
      causes of action, suits, debts, covenants, contracts, controversies, agreements, promises, claims
      and demands arising from or relating to the aforementioned lawsuit or any claim related to any act
      Releasor alleges that Releasee may or may not have done, which said Releasee ever had, now has,
      or which any heir, successor or assign of Releasee can, shall or may have against Releasor.
      Releasor and Releasee both agree that the terms of this agreement shall forever remain
      confidential, and both parties agree that they shall not discuss this agreement. Releasor specifically
      agrees to not disclose information it may have regarding Releasee, the litigation described herein, or
      any settlement discussions entered into between the parties unless ordered to do so by a valid court
      order or by permission of Releasee.




             Written and Executed this _ _ day o f - - - - - - - - · 2011.




      Joh(l L. Steele, Esq.
      Representative of Steele I Hansmeier, PLLC.
      On behalf of Hard Drive Productions, Inc.


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                                                                For Public Distribution




Memo
 Re:      An Assessment of the Open Wireless Defense



                                             Introduction

 We have been asked to prepare a memorandum on the viability of the Open Wireless Defense in the
 context of civil copyright infringement claims.

                                             Background

 The Open Wireless Defense is often considered by defense counsel on behalf of clients accused of
 illegally downloading copyrighted works via a wireless computer network. In short, the Open Wireless
 Defense is a claim that a third party surreptitiously accessed a defendant's unsecured wireless network
 and illegally downloaded a plaintiff's copyrighted works.

                                              Summary

Based on an extensive review of applicable case law and secondary materials, we conclude that the
Open Wireless Defense has never been successfully used by a defendant to escape liability for claims
of direct or indirect copyright infringement. First, proving that a given wireless network was unsecured
on a past date has proven to be prohibitively difficult, not to mention expose a defendant to liability for
spoliation of evidence. Second, the defense has been rejected by the courts in every context in which it
has been raised. Finally, the defense does not trump the ''willful blindness" doctrine in the indirect
copyright infringement context.

                                             Discussion

We begin our discussion by describing the logistical difficulty of proving the Open Wireless Defense.
Then, we discuss the treatment the Open Wireless Defense has received in the courts. Finally, we
analyze the ''willful blindness" doctrine as it relates to indirect copyright infringement and the Open
Wireless Defense.


       Proving the Open Wireless Defense

As its name implies, a key element of the Open Wireless Defense is that a defendant's wireless
network lacked an authentication scheme (and was thus accessible by third parties within signal range)
on the date that infringing activity was observed on the defendant's network. According to our technical
consultants, it is extremely challenging to prove that a given network was unsecured on a past date -
even if a defendant refrained from destroying all applicable network traffic logs. First, most network
traffic logs cannot distinguish between authorized and unauthorized traffic. Second, even if a log is
able to so distinguish, it is often the case that BitTorrent packets are encrypted and thus not subject to



                                                                               Exhibit B
                                                                                                              01
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ready analysis. Finally, the cost of decrypting such packets and analyzing network traffic logs in
preparation of litigation is often cost prohibitive.

In addition, although the vast majority of wireless routers are capable of logging network traffic, few
individuals bother to enable that feature -even after they are notified of impending litigation. Because
of this, the Instant such individuals raise the Open Wireless Defense, they invite a spoliation of
evidence claim. Courts have not hesitated to penalize copyright infringement defendants for their
failure to retain evidence. See Arfsta Records v. Tschirhart, No. SA-05-CA-372-0G, 241 F.R.D. 462,
466 r:N.D. Tex. Aug. 23, 2006). "In this case, defendant's conduct shows such blatant contempt for this
Court and a fundamental disregard for the judicial process that her behavior can only be adequately
sanctioned with a default judgment. No lesser sanction will adequately punish this behavior and
adequately deter its repetition in other cases."

Rather than wade into the morass of the Open Wireless Defense, courts often simply prevent a
defendant from raising it. See lnterscope Records v. Leadbetter, No. 03 CV 4465 (DGT/RML), 2007
WL 1217705, at *8 n.8 0N.D. Wash. 2007); Capitol Records Inc. v. Thomas-Rasset, No. 06-1497
(MJD/RLE), 2009 WL 1664468, at *7 (D. Minn. June 11, 2009);

    The Open Wireless Defense In the Courts

The Open Wireless Defense arises most frequently on motions to suppress evidence based on lack of
probable cause. For example, in United States v. Perez, 484 F.3d 775 (5th Cir. 2007), a woman
reported receiving an internet message containing child pornography from an individual with the Yahoo
ID, ''famcple." The police contacted the FBI, and a subpoena to Yahoo!, Inc. revealed that on the date
the child pornography was sent, the transmitting computer used IP address 24.27 .21.6. Through a
second subpoena to an internet service provider, the FBI determined that the account holder
associated with the IP address was Perez. A search warrant was obtained to search Perez's
residence, and child pornography was found. Perez objected to the search warrant, arguing that mere
association between an IP address and a physical address is insufficient to establish probable cause.
He argued that because his wireless network was unsecured, other individuals could have connected
to the Internet through his router and, consequently, used his IP address. The Fifth Circuit flatly
rejected Perez's argument, stating that "through it was possible that the transmissions
originated outside of the residence to which the IP address was assigned, It remained likely that
the source of the transmissions was Inside that residence." /d. at 740 (emphasis added).

In general, federal courts routinely deny motions to suppress based on an open wireless argument,
holding that there was probable cause to search and seize defendant's computers. See, e.g., United
States v. Carter, 549 F. Supp. 2d 1257, 1268-69 (D. Nev. 2008) ("[T]he Court agrees that ... there
would still have remained a likelihood or fair probability that the transmission emanated from the
subscriber's place of residence and that evidence of child pornography would be found at that
location."; United States v. Merz, 2009 WL 1183771, at *5 (E.D. Pa. May 4, 2009) ("The court also
concludes there was a sufficient connection between the IP address . . . and the physical location to
which the IP address was linked to establish probable cause to search the physical location."). See
also, United States v. Massey, No. 4:09CR506-DJS, 2009 WL 3762322 (E.D. Mo. Nov. 10 2009);
United States v. Hibble, No. CR 05-1410 TUC DCB (HCE), 2006 WL 2620349 (D. Ariz. Sept. 11,
2006).

The Open Wireless Defense has also been raised by defendants in civil copyright infringement actions.
In Arista Records, Inc. v. Musemeci, the defense arose on a motion to vacate summary judgment. No.
03 CV 4465, 2007 WL 3124545, at *5 (E.D.N.Y. Sept. 18, 2007). The court concluded that the
defendant's claim that an unsecured wireless router at his residence could have been used by
an outside party to commit the alleged Infringing activity was not a meritorious defense and
denied the motion. /d. In Capitol Records, Inc. v. Thomas-Rasset, the court excluded expert
testimony on the Open Wireless Defense because the defendants were unable to offer sufficient
evidence in its support. No. No. 06-1497 (MJD/RLE), 2009 WL 1664468, at *7 (D. Minn. June 11,




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2009). In lnterscope Records v. Leadbetter, the Open Wireless Defense was similarly excluded. No.
03 CV 4465 (DGT) (RML), 2007 WL 1217705, at *8 n.8 (W.D.Wash. 2007).

    Secondary Liability and the "Willful Blindness" Doctrine

The unlikely defendant who escapes liability for direct copyright infringement vis-a-vis the Open
Wireless Defense will nevertheless have to contend with liability for contributory copyright infringement.
Contributory infringement occurs when a party who, with knowledge of the infringing activity, induces
causes, or materially contributes to the infringing conduct of another. Metro-Go/dwyn Mayer Studios,
Inc. v. Grokster, Ltd., 545 U.S. 913 (2005); Gershwin Pub. Corp. v. Columbia Artists Management, Inc.,
443 F.2d 1159, 1162 (2d Cir.1971).
A defense counsel's first instinct is to allege that a client is innocent where a client had no actual
knowledge that the conduct it engaged in (i.e. providing internet access to copyright infringers)
constituted contributory infringement. Before advancing those claims, however, an attorney would be
well advised to take a close look at the conduct for which persons engaging in infringing activity have
been held responsible. Because the typical wireless router is readily capable of logging traffic, a
defendant cannot escape liability by claiming they never made the effort to analyze such traffic. Willful
blindness is knowledge. In re Aimster Copyright Litigation, 334 F.3d 643, 654 (7th Cir. 2003); Deep v.
Recording Industry Ass'n of America, Inc., 540 U.S. 1107 (2004).

 Thus, an internet account holder who maintains a wireless network and fails to monitor the traffic on the
 network is liable for contributory copyright infringement. /d. Copyright law may lead to harsh results,
 but it nevertheless is the law.

                                              Conclusion

 The Open Wireless Defense is not viable. First, from a technical standpoint it is extremely challenging
 to establish that a wireless network was unsecured on a past date and if the related evidence has not
 been preserved then a defendant may be subject to liability for spoliation of evidence upon raising the
 defense. Second, it has never been successfully used to avoid liability for direct copyriQht infrinQement
 in any court in the United States. Finally, even if it were established that a third party used an account
  holder's internet account to illegally download copyright content, the account holder would not be able
  to escape liability for contributory copyright infringement.




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Steele HansmeierPLLc
Intellectual Property Law Firm


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October 19, 2011                                                                                     CA.LI F ".N lA.
                                                                                                             94941
                                                                                                   P: 415.32 .5900

Informal Settlement Letter


Via Email (mcb@hemispheres.pro, mcb@postmodern.com)

       Re:     Case No. 4:11-cv-01566
               Client: Seth Abrahams


Dear Mr. Berch:

The purpose of this letter is to request a conference with you to discuss possible settlement of
the copyright infringement relating to the above-named client. We feel like this would be a
great opportunity to come to a mutually beneficial agreement and avoid the expense and time
of further litigation.

We are aware that the Court may order the parties to participate in one or more pretrial
conferences in order to facilitate settlement under the Federal Rules of Civil Procedure
16(a)(5). We feel, however, that the Court would appreciate our proactive attempt to solve this
dispute amicably without the intervention of the Court.

We would like to meet and confer with you as soon as possible. We anticipate the meeting
taking approximately one hour. Please contact our offices at the number above to set up a
conference.

We thank you for your cooperation and look forward to hearing from you.


Sincerely,




Brett L. Gibbs, Esq.

BLG/gfy



                                                                                        Exhibit
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Steele HansmeierPLLc
Intellectual Property Law Firm
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October 19, 2011
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Preservation of Evidence (Spoliation) Warning Letter to Opposing Counsel                                             BlGIJBSeWEFU:;Htr1~   CY.COM




Via Email (mcb@hemispheres.pro, mcb@postmodern.com)

         Re:      Case No. 4:11-cv-01566
                  Client: Seth Abrahams


Dear Mr. Berch:

I. Demand for Preservation of Evidence

The purpose of this letter is to confirm the obligation of your client, Mr. Samuel Teitelbaum, to
take reasonable steps to preserve all documents, tangible things and electronically stored
information (hereinafter "ESI") potentially relevant to any issues in the above entitled matter.
Preservation means taking reasonable steps to:

         1. Ensure that potentially relevant documents, tangible things and ESI are not
            destroyed, lost or relinquished to others, either intentionally, or inadvertently such
            as through the implementation of an ordinary course document retention/destruction
            policy;

         2. Ensure that potentially relevant documents, tangible things and ESI are not
            modified- an issue that arises particularly in the case ofESI (which may be
            modified by the simple act of accessing the information), and in the case of
            documents used on an ongoing basis in the operation of the business; and

         3. Ensure that potentially relevant documents, tangible things and ESI remain
            accessible - again, an issue that arises particularly in the case of ESI, which may
            require particular forms of software or hardware to remain readable.

Failure to comply with this notice can result in severe sanctions and penalties being imposed
by the Court for spoliation of evidence or potential evidence 1• To avoid such sanctions it is

1
  See, e.g., Krumwiede v. Brighton Associates, LLC, 2006 WL 1308629 (N.D. Ill. May 6, 2006). (Default
judgment granted, and sanctions issued, for deleting, altering and accessing electronic data despite litigation hold);


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essential to ensure that potentially relevant materials are preserved intact and unmodified in
their original form, until counsel has had an opportunity to assess the relevance of the records
and the appropriate means of production of the records to opposing parties.

The obligation to preserve the relevant documents, tangible things and ESI arose when your
client received notice from their ISP putting them on notice of this potential litigation.

Although we may bring a motion for an order preserving documents and things from
destruction or alteration, your client's obligation to preserve documents and things for
discovery in this case arises in law and equity independently from any order on such motion.
Nothing in this demand for preservation should be understood to diminish your existing
obligation to preserve documents, tangible things, ESI and other potentially relevant evidence.

II. Electronically Stored Information (ESI)

Importantly, the obligation to preserve documents applies to data and information in electronic
form2 . The obligation extends to all ESI, stored on any kind of electronic media. The possible
forms of ESI include not only emails and word processing documents, but also spreadsheets
and other accounting data, the contents of databases, electronically-stored voice mail records,
archived and deleted files, autorecovery files, web-based files such as internet history logs,
temporary internet files and "cookies," and metadata.

ESI resides not only in areas of electronic, magnetic and optical storage media reasonably
accessible to you, but also in areas you may deem not reasonably accessible. You are obliged
to preserve potentially relevant evidence from both these sources of ESI, even if you do not
anticipate producing such ESI.

The demand that you preserve both accessible and inaccessible ESI relevant to this matter is
limited, reasonable, and necessary. As you are aware, the recent state and federal laws require
that you preserve and at the appropriate time produce all sources ofESI. For good cause
shown, the court may order production of the ESI, even if it finds that it is not reasonably


Arista Records v. Tschirhart, No. SA-05-CA-372-0G, 241 F.R.D. 462, 466 (W.D. Tex. Aug. 23, 2006) ("In this
case, defendant's conduct shows such blatant contempt for this Court and a fundamental disregard for the judicial
process that her behavior can only be adequately sanctioned with a default judgment. No lesser sanction will
adequately punish this behavior and adequately deter its repetition in other cases.")


2
  Courts have made it clear that all information available on electronic storage media is discoverable, whether
readily readable ("active") or "deleted" but recoverable. See, e.g., Easley, McCaleb & Assocs., Inc. v. Perry, No.
E-2663 (Ga. Super. Ct. July 13, 1994) ("deleted" files on a party's computer hard drive held to be discoverable,
and plaintiffs expert was allowed to retrieve all recoverable files); Santiago v. Miles, 121 F.R.D. 636, 640
(W.D.N. Y. 1988) (a request for "raw information in computer banks" was proper and obtainable under the
discovery rules); Gates Rubber Co. v. Bando Chemical Indus., Ltd., 167 F.R.D. 90, 112 (D. Colo. 1996
(mirrorimage copy of everything on a hard drive "the method which would yield the most complete and accurate
results," chastising a party's expert for failing to do so); and Northwest Airlines, Inc. v. Teamsters Local 2000, et
al., 163 L.R.R.M. (BNA) 2460, (USDC Minn. 1999) (court ordered image-copying by Northwest's expert of home
computer hard drives of employees suspected of orchestrating an Illegal "sick-out" on the internet).




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accessible. Accordingly, even ESI that you deem reasonably inaccessible must be preserved in
the interim so as not to deprive our client of its right to secure the evidence or the Court of its
right to adjudicate the issue.

Electronic documents and the storage media on which they reside contain relevant,
discoverable information beyond that which may be found in printed documents. Therefore,
even where a paper copy exists, we will seek all documents in their electronic form along with
information about those documents contained on the media. We also will seek paper printouts
of only those documents that contain unique information after they were printed out (such as
paper documents containing handwriting, signatures, marginalia, drawings, annotations,
highlighting and redactions) along with any paper documents for which no corresponding
electronic files exist.

Adequate preservation of ESI requires more than simply refraining from efforts to destroy or
dispose of such evidence. You must also intervene to prevent loss due to routine operations and
employ proper techniques and protocols suited to protection of ESI. Be advised that sources of
ESI are altered and erased by continued use of your computers and other devices. Booting a
drive, examining its contents or running any application will irretrievably alter the evidence it
contains and may constitute unlawful spoliation of evidence. Consequently, alteration and
erasure may result from your failure to act diligently and responsibly to prevent loss or
corruption of ESI.

III. Avoiding Spoliation
You must act immediately to preserve potentially relevant ESI. Through discovery we expect
to obtain from you a number of documents and things, including files stored on your client's
computers and your client's computer storage media. In order to avoid spoliation, you need to
preserve the data on the original media, or on exact copies of that media (sometimes referred to
as image, evidentiary, or mirror copies), and be able to prove that the original matches the copy
in every respect. Do not reuse any media to preserve this data.

 Additionally, in order to avoid spoliation you may have to suspend certain normal computer
 maintenance procedure, including but not limited to such procedures as:

     1. De-fragmenting hard drives;
     2. Running any "disk clean-up" processes;
     3. Purging the contents of e-mail repositories by age, capacity or other criteria;
     4. Overwriting, erasing, destroying or discarding back up media;
     5. Re-assigning, re-imaging or disposing of systems, servers, devices or media;
     6. Running antivirus or other programs effecting wholesale metadata alteration;
     7. Releasing or purging online storage repositories;
     8. Using metadata stripper utilities;
     9. Disabling server or IM logging;
     10. Deleting internet cookies; and
     11. Deleting browser history, bookmarks and favorites.




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Our discovery requests will ask for certain data on the hard disks, floppy disks and backup
media used in your client's computers, some of which data are not readily available to an
ordinary computer user, such as "deleted" files and "file fragments." As you may know,
although a user may "erase" or "delete" a file, all that is really erased is a reference to that file
in a table on the hard disk; unless overwritten with new data, a "deleted" file can be as intact
on the disk as any "active" file you would see in a directory listing.

Your client is also to preserve and not destroy all passwords, decryption procedures (including,
if necessary, the software to decrypt the files); network access codes, 10 names, manuals,
tutorials, written instructions, decompression or reconstruction software, and any and all other
information and things necessary to access, view and (if necessary) reconstruct the electronic
data we will request through discovery.

You should anticipate that certain ESI, including but not limited to spreadsheets and databases,
will be sought in the form or forms in which it is ordinarily maintained. Accordingly, you
should preserve ESI in such native forms, and you should not select methods to preserve ESI
that remove or degrade the ability to search your ESI by electronic means or make it difficult
or burdensome to access or use the information efficiently in the litigation. You should
additionally refrain from actions that shift ESI from reasonably accessible media and forms to
less accessible media and forms ifthe effect of such actions is to make such ESI not reasonably
accessible.

 You should further anticipate the need to disclose and produce system and application
 metadata and act to preserve it. System metadata is information describing the history and
 characteristics of other ESI. This information is typically associated with tracking or managing
 an electronic file and often includes data reflecting a file's name, size, custodian, location and
 dates of creation and last modification or access. Application metadata is information
 automatically included or embedded in electronic files but which may not be apparent to a
 user, including deleted content, draft language, commentary, collaboration and distribution
 data and dates of creation and printing. Be advised that metadata may be overwritten or
 corrupted by careless handling or improper steps to preserve ESI. For electronic mail, metadata
 includes all header routing data and Base 64 encoded attachment data, in addition to the To,
 From, Subject, Received Date, CC and BCC fields.

 IV. Specific Requests

 Accordingly, electronic data and storage media that may be subject to our discovery requests
 and that your client is obligated to maintain and not alter or destroy, include but are not limited
 to the following:

     1. Computers: The following steps should immediately be taken to safeguard all
         computers.

              a. Computer: Your client is not to destroy or modify any computers used or
                 potentially used in the downloading of the copyrighted content at issue in this
                 case. This includes, but is not limited to:



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               i. Desktop computers, laptops, home computers, personal digital
                  assistants, cell phones, Blackberrys, Palm Pilots or similar multi-
                  functional devices, voicemail, digital cameras, other digital storage
                  devices such as floppy disks, CD's, DVD's, zip drives, backup media,
                  external hard drives and USB ("thumb") drives.

              ii. Any components attached to or contained within the computers such as
                  the hard drive, tape drive, computer bus, CPU, motherboard, RAM,
                  storage controllers, media devices, modem, router, and monitor.

              iii. Relevant electronic information, such as data files contained within
                   those computers. This includes relevant electronic information stored on
                   your client's behalf by third parties such as banks, professionals (such as
                   accountants or lawyers), the government, insurers, third party service
                   providers, affiliated companies, data warehouses or internet service
                   providers.

       b. Fixed drives attached to such computers: (i) a true and correct copy is to be
          made of all electronic data on such fixed drives relating to this matter, including
          all active files and completely restored versions of all deleted electronic files
          and file fragments; (ii) full directory listings (including hidden files) for all
          directories and subdirectories (including hidden directories) on such fixed
          drives should be written; and (iii) such copies and listings are to be preserved
          until this matter reaches its final resolution.

       c. All floppy diskettes, CDs, magnetic tapes and cartridges, and other media used
          in connection with such computers prior to the date of delivery of this letter
          containing any electronic data relating to this matter are to be collected and put
          into storage for the duration of this lawsuit.

2. The Copyrighted Content at Issue: With regard to the copyrighted data file: Your
   client is not to modify or delete any data files, "deleted" files and file fragments related
   to the copyrighted content at issue in this case existing at the time of this letter's
   delivery, which meet the definitions set forth in this letter, unless a true and correct
   copy of each such electronic data file has been made and steps have been taken to
   assure that such a copy will be preserved and accessible for purposes of this litigation.

3. Networking Equipment: With regard to any networking equipment: Your client is not
   to modify or delete any equipment used to connect to any network associated with your
   client's IP address relevant to this case. This includes, but is not limited to any modems
   and routers associated used or potentially used to connect to the network associated
   with said IP address.

4. Programs Used to Download the Copyrighted Material: With regard to any
   programs used or that could potentially have been used to download to the relevant




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   copyrighted content: Your client is not to modify or delete such programs. This
   includes, but is not limited to, any BitTorrent software or programs, used in any manner
   by your client, not just to download the copyrighted material.

5. Access to Relevant Websites: With regard to any websites where the relevant
   copyrighted material was found and downloaded by your client: Your client is not to
   modify or delete anything related to accessing these websites. This includes, but is not
   limited to, deleting internet cookies, deleting browser history, bookmarks and favorites.

6. Online Data Storage on Mainframes and Minicomputers: With regard to online
   storage and/or direct access storage devices attached to your client's mainframe
   computers and/or minicomputers: Your client is not to modify or delete any electronic
   data files, "deleted" files and file fragments existing at the time of this letter's delivery,
   which meet the definitions set forth in this letter, unless a true and correct copy of each
   such electronic data file has been made and steps have been taken to assure that such a
   copy will be preserved and accessible for purposes of this litigation.

7. Offline Data Storage, Backups and Archives, Floppy Diskettes, Tapes and Other
   Removable Electronic Media: With regard to all electronic media used for offline
   storage, including magnetic tapes and cartridges and other media that, at the time of this
   letter's delivery, contained any electronic: Your client is to stop any activity that may
   result In the loss of such electronic data, including rotation, destruction, overwriting
   and/or erasure of such media in whole or in part. This request is intended to cover all
   removable electronic media used for data storage in connection with their computer
   systems, including magnetic tapes and cartridges, magneto-optical disks, floppy
   diskettes and all other media, whether used with personal computers, minicomputers or
   mainframes or other computers, and whether containing backup and/or archive data sets
   and other electronic data, for all ofthelr computer systems.

 8. Replacement of Data Storage Devices: Your client is not to dispose of any electronic
    data storage devices and/or media that may be replaced due to failure and/or upgrade
    and/or other reasons that may contain electronic data.

 9. Fixed Drives on Stand-Alone Personal Computers and Network Workstations:
    With regard to electronic data which existed on fixed drives attached to stand-alone
    microcomputers and/or network workstations at the time of this letter's delivery: Your
    client is not to alter or erase such electronic data, and not to perform other procedures
    (such as data compression and disk de-fragmentation or optimization routines) that may
    impact such data, unless a true and correct copy has been made of such active files and
    of completely restored versions of such deleted electronic files and file fragments,
    copies have been made of all directory listings (including hidden files) for all
    directories and subdirectories containing such files, and arrangements have been made
    to preserve copies during the pendency of this litigation.
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  10. Programs and Utilities: Your client is to preserve copies of all application programs
      and utilities, which may be used to process electronic data covered by this letter.

   11. Log of System Modifications: Your client is to maintain an activity log to document
       modifications made to any electronic data processing system that may affect the
       system's capability to process any electronic data regardless of whether such
       modifications were made the client and/or any other third parties.

   12. Evidence Created Subsequent to This Letter: With regard to electronic data created
       subsequent to the date of delivery of this letter, relevant evidence is not be destroyed
       and your client is to take whatever steps are appropriate to avoid destruction of
       evidence.

V. What We Want You to Do

In order to assure that your obligation and your client's obligation to preserve documents and
things will be met, we request you do the following:

    1. Forward a copy of this letter to your client and all other persons and entities with
       custodial responsibility for the items referred to in this letter;

    2. Provide Plaintiff with a copy of any correspondence you have sent or will send to your
       client regarding the preservation of all documents, tangible things and ESI potentially
       relevant to any issues in this matter;

    3. With respect to Blackberry or similar multi-functional devices, voicemail, digital
       cameras and USB drives, please ensure that those devices (and in particular the devices
       of the above named individuals/employees) are immediately imaged by an IT
       department or professional. Since these devices often have limited memory, any delay
       may result in relevant ESI being destroyed. We also require confirmation of the dates
       when those devices are captured and imaged;

    4. Preserve any log or logs of network use, whether kept in paper or electronic form, and
       to preserve all copies of your backup tapes and the software necessary to reconstruct
       the data on those tapes, so that there can be made a complete, bit-by-bit "mirror"
       evidentiary image copy of the storage media of each and every personal computer
       (and/or workstation) and network server in your control and custody, as well as image
       copies of all hard drives retained by you and no longer in service, but in use at any time
        from to the present;

     5. Provide Plaintiff with a letter containing the following information:

            a. Confirmation that your client is aware of his obligations explained above.

            b. The steps taken so far by your client to preserve the relevant documents,
               tangible things and ESI referenced above;
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           c. Provide a catalog of any spoliation, destruction, or modifications to any relevant
              documents, tangible things and ESI that has already occurred, either
              intentionally or unintentionally; and

             d. Any measures taken to remedy the spoliation that has already occurred to any
                relevant documents, tangible things and ESI.

   6. Provide Plaintiff with further letters cataloging and explaining any further spoliation
      that takes in the future with an explanation on what remedial measures have taken place
      to reduce or eliminate the harm caused by the spoliation.

We would welcome the opportunity to speak with you to discuss the scope of production of all
documents, including the searching and production ofESI. We ask that you contact us to
discuss, among other things, the appropriate search parameters for all electronic records in this
matter.

We thank you in advance for your anticipated co-operation.




Sincerely,




Brett L. Gibbs, Esq.

 BLG/gfy




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